
JOHNSON, Judge.
This suit was filed by plaintiff to expropriate a tract of land in Section 42, Tp. 12 S., R. 12 E., and designated on the maps in evidence as the southern portion of the arpent tract No. 89. Plaintiff is taking only the western 141.57 feet of that portion. This case was consolidated in this court for the purpose of argument with four other cases of similar nature. In this case the plaintiff appealed from the judgment rendered by the Civil District Court for the Parish of Orleans on April 18, 1968, awarding title to' said property to plaintiff by expropriation upon the payment by plaintiff to defendants Mrs. Florence Vincent Reymond, widow of Leon J. Reymond, Miss Mary Margaret Vincent and Roger C. Vincent, the sum of $60,550.57 with legal interest from date of judicial demand.
For the reasons given by this court in the consolidated case of Board of Commissioners of the Port of New Orleans v. Lomm, etc., el al., reported at 220 So.2d 489, the judgment appealed from is amended by eliminating therefrom the words “of judicial demand,” and inserting in lieu thereof the words: “of April 18, 1968, the date the judgment was rendered and signed.” In all other respects the judgment appealed from is affirmed, the plaintiff to pay all costs.
Amended and affirmed.
